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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


__________________________________________
UNITED STATES OF AMERICA,                  )
                                           )
v.                                         )
                                           )                 Criminal No. 13-40031-TSH
LAM LY, et al.,                            )
                  Defendants.              )
__________________________________________)


                 ORDER ON MOTION TO JOIN DISPOSITVE MOTIONS
                          FILED BY CO-DEFENDANTS

                                           June 2, 2014

Hennessy, M.J.

        The indictment in this criminal prosecution alleges that eight defendants conspired to

manufacture and distribute marijuana, and committed other related offenses. Referred to this

Court are motions by two of the defendants, Tam Pham (Docket 151) and Loc Mai (Docket 153).

Each moves to join the dispositive motions of the co-defendants.       In support, each defendant

argues that the indictment is based on a series of common facts, that the facts raise identical

constitutional issues and, thus, the arguments Pham and Mai raise to suppress evidence would

merely repeat the identical arguments made by their co-defendants, and that the interest of

judicial economy is furthered by allowing the motions to join.         Despite the appeal of these

arguments in support of the motions to join, the motions are DENIED without prejudice to re-

file.

        It is settled that a defendant has standing to challenge the admission of illegally obtained

evidence only if the defendant’s own constitutional rights were violated. See United States v.

Salvucci, 448 U.S. 83 (1980). There, the Court said, “the values of the Fourth Amendment are


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preserved by a rule which limits the availability of the exclusionary rule to defendants who have

been subjected to a violation of their Fourth Amendment rights.” Id. at 95. Thus, a defendant

must show that he or she has a reasonable expectation of privacy that was violated by the

challenged search. See Rakas v. Illinois, 439 U.S. 128, 133-34 (1978). Here, the generalized

motions to join motions to suppress evidence filed by the co-defendants fail to make this

showing.

       Accordingly, I deny the motions, but do so without prejudice. Defendants are directed to

specify which motion or motions each defendant seeks to join, and, as to each motion or motions

that seeks to suppress evidence, to show that the challenged search violated his or her own fourth

amendment rights. Statements by Pham or Mai made in this regard to show that she or he had a

reasonable expectation of privacy that was violated by state action are not admissible during the

government’s case-in-chief. Simmons v. United States, 390 U.S. 377, 394 (1968).

       Such motions and supporting evidence are due ten days from the date of this order.


                                                    / s / David H. Hennessy
                                                    David H. Hennessy
                                                    United States Magistrate Judge




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